               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:15-cr-00037-13
                                                 )      Judge Trauger
JONATHAN LAMAR MOORE                             )
                                                 )

                                         ORDER

       It is hereby ORDERED that the sentencing of this defendant is RESET before Judge

Trauger on Thursday, December 1, 2016 at 10:00 a.m.

       It is so ORDERED.

       ENTER this 30th day of November 2016.




                                                 ________________________________
                                                 ALETA A. TRAUGER
                                                 U.S. District Judge




 Case 3:15-cr-00037      Document 771      Filed 11/30/16     Page 1 of 1 PageID #: 2403
